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   8                         UNITED STATES DISTRICT COURT
   9                        CENTRAL DISTRICT OF CALIFORNIA
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  11       FORTINO S.,1                           No. LA CV 19-04017 VBF (RAO)
  12                         Plaintiff,
  13             v.                               JUDGMENT
  14       ANDREW M. SAUL,2
           Commissioner of Social Security,
  15                        Defendant.
  16

  17            IT IS ADJUDGED that the decision of the Commissioner of Social Security
  18   is AFFIRMED.
  19

  20   DATED: September 18, 2020
  21
                                                Hon. VALERIE BAKER FAIRBANK
  22                                            UNITED STATES DISTRICT JUDGE
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         Plaintiff’s name is partially redacted in compliance with Federal Rule of Civil
       Procedure 5.2(c)(2)(B) and the recommendation of the Committee on Court
  26   Administration and Case Management of the Judicial Conference of the United
  27   States.
       2
         Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Andrew M. Saul,
  28   the current Commissioner of Social Security, is hereby substituted as the defendant.
